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INSTR # 111902403, OR BK 50296 PG 533, Page 1 of 4, Recorded 10/30/2013 at
01:56 PM, Broward County Commission, Deputy Clerk ERECORD

**** FILED: BROWARD COUNTY, FL HOWARD FORMAN, CLERK 10/29/2013 3:53:56 PM.****

C

IN THE CIRCUIT COURT OF THE SEVENTEENTH
JUDICIAL CIRCUIT IN AND FOR BROWARD COUNTY, FLORIDA
CIVIL ACTION

THE BANK OF NEW YORK MELLON, FKA THE BANK OF NEW __|
YORK AS SUCCESSOR IN INTEREST TO JP MORGAN CHASE |

-BANK NA AS TRUSTEE FOR. BEAR STEARNS ASSET BACKED...,.._ |
‘ "SECURITIES TRUST. 2006-SD2, ASSET-BACKED. CERTIFICATES»: ' |
SERIES 2006-SD2, |
|

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Plaintiff,

CASE NO.: CACE11016092
vs. DIVISION: 11 SPACE FOR RECORDING ONLY

RALPH L. SANDERS; THE UNKNOWN SPOUSE OF RALPH L.
SANDERS; CITY OF PLANTATION, FLORIDA;MIDLAND
FUNDING, LLC, AS SUCCESSOR IN INTEREST TO
CITIBANK;UNITED STATES OF AMERICA, ADMINISTRATOR
OF THE SMALL BUSINESS ADMINISTRATION; ANY AND ALL
UNKNOWN PARTIES CLAIMING BY, THROUGH, UNDER, AND
AGAINST THE HEREIN NAMED INDIVIDUAL DEFENDANT(S)
WHO ARE NOT KNOWN TO BE DEAD OR ALIVE, WHETHER
SAID UNKNOWN PARTIES MAY CLAIM AN INTEREST AS
SPOUSES, HEIRS, DEVISEES, GRANTEES, OR OTHER
CLAIMANTS; TENANT #1, TENANT #2, TENANT #3, and
TENANT #4 the names being fictitious to account for parties in
possession

Defendant(s).

FINAL JUDGMENT OF FORECLOSURE

THIS ACTION was heard before the Court at the Non-Jury on October 29, 2013. On the evidence

presented,
IT IS ADJUDGED that:
1. The Plaintiff's Fimal Judgment is GRANTED. Service of process has been duly and regularly

obtained over Ralph L. Saunders; United States of America, Administrator of the Small Business
Administration; City of Plantation, Florida; Midland Funding, LLC, as Successor in interest to Citibank; and
Unknown Spouse of Ralph L. Sanders n/k/a Virpi Sanders defendants.

2. There is due and owing to the Plaintiff the following:

Principal due on the note secured by the mortgage foreclosed: $286,879.78
Interest on the note and mortgage from February 1, 2011 to October 29, 2013 $46,237.56
Title search expenses $250.00
Taxes for the year(s) of 2011-2012 $6,969.17
Insurance Premiums $13,558.25
Court Costs:

Filing Fee $1,986.00
Service of Process $385.00

Mediation $ 750.00
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LP UPDATE $ 75.00
SUBTOTAL $357,090.76
Additional Costs:

Pre-Accelerated Late Charges through June 21, 2011 $ 370.32
Property Inspections $ 225.00
BPO/Appraisals $ 180.00
Credit bee as $- 200.00

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SUBTOTAL $357,666.08
Attorney fees based upon 8 hours at $162.50 per hour $1,300.00
GRAND TOTAL $358,966.08
3. The grand total amount referenced in Paragraph 2 shall bear mterest from this date forward at the

prevailing legal rate of interest.

4. Plaintiff, whose address is c/o Wells Fargo Home Mortgage, 3476 Stateview Blvd., Fort Mill, SC
29715, holds a lien for the grand total sum specified in Paragraph 2 herein. The lien of the Plaintiff 1s superior
in dignity to any nght, title, mterest or clam of the defendants and all persons, corporations, or other entities
claiming by, through, or under the defendants or any of them and the property will be sold free and clear of all
claims of the defendants, with the exception of any assessments that are superior pursuant to Florida Statutes,
Section 718.116 and Section 720.3085. The Plaintiff's lien encumbers the subject property located in Broward
County, Florida and described as:

LOT 22, BLOCK 4, OF PLANTATION PARK 10TH ADDITION, ACCORDING TO THE PLAT
THEREOF,
RECORDED IN PLAT BOOK 55, PAGE 21, OF THE PUBLIC RECORDS OF BROWARD
COUNTY,
FLORIDA.

Property address: 561 SW 60 AVE, PLANTATION, FL 33317-0000

5. If the grand total amount with interest at the rate described in Paragraph 3 and all costs accrued
subsequent to this judgment are not paid, the Clerk z the Court shall sell the subject property at public sale to
the highest bidder on /-22— @ , 20 4 F, at 10:00am, to the highest bidder for cash, except as
prescribed in Paragraph 6, at Broward County's Public Auction website: www.broward.realforeclose.com, after
having first given notice as required by Section 45.031, Flonda Statutes. The Clerk shall not conduct the sale in
the absence of the Plaintiff or its representative.

6. Plaintiff shall advance all subsequent costs of this action in addition to any advances to protect its
collateral and shall be reimbursed for them by the Clerk if Plaintiff is not the purchaser of the property for sale.
If Plaintiff is the purchaser, the Clerk shall credit Plaintiff's bid with the total sum with interest and costs
accruing subsequent to this judgment, or such part of it, as 1s necessary to pay the bid in full. The Clerk shall
receive the service charge imposed in Section 45.031, Florida Statutes, for services in making, recording, and
certifying the sale and title that shall be assessed as costs.

7. On filing of the Certificate of Sale, defendant’s right of redemption as prescribed by Florida Statutes,
Section 45.0315 shall be terminated; Except for that of the United States of America, which has 365 days to
redeem.

8. On filing the Certificate of Title, the Clerk shall distribute the proceeds of the sale, so far as they are
sufficient, by paying: first, all of the Plaintiffs costs; second, documentary stamps affixed to the Certificate;
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third, Plamtiff’s attorneys’ fees; fourth, the total sum due to the Plaintiff, less the 1tems paid, plus interest at the
rate prescribed in paragraph 2 from this date to the date of the sale. During the sixty (60) days after the Clerk
issues the certificate of disbursements, the Clerk shall hold the surplus pending further Order of this Court.

9. Upon filing of the Certificate of Title, defendant and all persons claimmg under or against defendant
since the filing of the Notice of Lis Pendens shall be foreclosed of all estate or claim in the property and the
purchaser at sale shall be let mto possession of the property.

.,, 10. +. TheCourt finds, based upon the affidavits presented and upon-inquiry of counsel for the Plaintiff, that |» +s - beets,
“18° hours were. reasonably: expended: by: Plaintiff's counsel. and: that/an*hourly rate of $162.50 1s appropiate. «1. Mosonant usta:
PLAINTIFF’S COUNSEL REPRESENTS THAT THE ATTORNEY FEE AWARDED DOES NOT
EXCEED ITS CONTRACT FEE WITH THE PLAINTIFF. The Court finds that there are no reduction or
enhancement factors for consideration by the Court pursuant to Flonda Patient’s Compensation Fund v. Rowe,
472 S.2d 1145 (Fla. 1985).

11. NOTICE PURSUANT TO AMENDMENT TO SECTION 45.031, FLA. ST. (2006).

IF THIS PROPERTY IS SOLD AT PUBLIC AUCTION, THERE MAY BE ADDITIONAL MONEY
FROM THE SALE AFTER PAYMENT OF PERSONS WHO ARE ENTITLED TO BE PAID FROM
THE SALE PROCEEDS PURSUANT TO THE FINAL JUDGMENT.

IF YOU ARE A SUBORDINATE LIENHOLDER CLAIMING A RIGHT TO FUNDS REMAINING
AFTER THE SALE, YOU MUST FILE A CLAIM WITH THE CLERK NO LATER THAN SIXTY
(60) DAYS AFTER THE SALE. IF YOU FAIL TO FILE A CLAIM, YOU WILL NOT BE
ENTITLED TO ANY REMAINING FUNDS.

IF YOU ARE THE PROPERTY OWNER, YOU MAY CLAIM THESE FUNDS YOURSELF. YOU
ARE NOT REQUIRED TO HAVE A LAWYER OR ANY OTHER REPRESENTATION AND YOU
DO NOT HAVE TO ASSIGN YOUR RIGHTS TO ANYONE ELSE IN ORDER FOR YOU TO
CLAIM ANY MONEY TO WHICH YOU ARE ENTITLED. PLEASE CHECK WITH THE CLERK
OF THE COURT, BROWARD COUNTY CLERK OF COURT, BROWARD COUNTY
COURTHOUSE, ATTN: FORECLOSURE, 201 S E 6TH STREET, ROOM 230, FORT
LAUDERDALE, FL 33301, BROWARD COUNTY CLERK OF COURTS, [TELEPHONE: 954-831-
5745 - Foreclosure Line, 954-831-6565 GENERAL NOTICE OF ACTIONS 954-831-5742, 954-831-7770
Special Foreclosure Line, 954-831-5659 - Court Registry - Funds], WITHIN TEN (10) DAYS AFTER
THE SALE TO SEE IF THERE IS ADDITIONAL MONEY FROM THE FORECLOSURE SALE
THAT THE CLERK HAS IN THE REGISTRY OF THE COURT.

IF YOU DECIDE TO SELL YOUR HOME OR HIRE SOMEONE TO HELP YOU CLAIM THE
ADDITIONAL MONEY, YOU SHOULD READ VERY CAREFULLY ALL PAPERS YOU ARE
REQUIRED TO SIGN, ASK SOMEONE ELSE, PREFERABLY AN ATTORNEY WHO IS NOT
RELATED TO THE PERSON OFFERING TO HELP YOU, TO MAKE SURE THAT YOU
UNDERSTAND WHAT YOU ARE SIGNING AND THAT YOU ARE NOT TRANSFERRING YOUR
PROPERTY OR THE EQUITY IN YOUR PROPERTY WITHOUT THE PROPER INFORMATION.
IF YOU CANNOT AFFORD TO PAY AN ATTORNEY, YOU MAY CONTACT LEGAL AID
SERVICE OF BROWARD COUNTY INC., 491 N. STATE ROAD 7, PLANTATION, FL 33317
TELEPHONE: (954) 765-8950, TO SEE IF YOU QUALIFY FINANCIALLY FOR THEIR SERVICES.
IF THEY CANNOT ASSIST YOU, THEY MAY BE ABLE TO REFER YOU TO A LOCAL BAR
REFERRAL AGENCY OR SUGGEST OTHER OPTIONS. IF YOU CHOOSE TO CONTACT
FLORIDA RURAL LEGAL SERVICES, YOU SHOULD DO SO AS SOON AS POSSIBLE AFTER
RECEIPT OF THIS NOTICE.

12. If Plaintiff 1s the successful purchaser at the foreclosure sale, Plaintiff may assign the successful bid
without further order of this court.

13. The Court finds that Plaintiff has standing to seek and receive the relief obtained herein.
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14, Any funds payable from third party funds mcluding attorney fees and costs shall be made payable to
Plamnoff.
15. The Court retains jurisdiction of this action to enter further orders that are proper, including, without

lumitation, deficiency judgments.

ORDERED at Broward 4 County, Florida on O of a ]- ; =

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Circuit Judge

SS-11-87990

Copies furmshed to:

Albertelli Law

P.O. Box 23028

Tampa, FL 33623

eService: servealaw@albertellilaw.com

CACE1 1016092

Ralph L. Sanders
561 SW 60th Ave
Plantation, FL 33317-3947

City of Plantation, Florida

c/o Rae Carole Armstrong, Mayor
400 N.W. 73rd Avenue
Plantation, FL 33317

Midland Funding, LLC, as Successor in interest to Citibank
c/o Registered Agent, Corporation Services Company

1201 Hays St

Tallahassee, FL 32301

United States of America, Administrator of the Small Business Administration
c/o Wilfredo A. Ferrer, Esq.

United States Attorney

Small Business Administration

200 W. Santa Ana Blvd., Ste. 180

Santa Ana, CA 92701

E-Serve 1: usafls.2410@usdoj.gov

Unknown Spouse of Ralph L. Sanders n/k/a Virpi Sanders
561 SW 60th Avenue
Plantation, FL 33317
